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Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 2 of 47
Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 3 of 47
Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 4 of 47
Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 5 of 47
Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 6 of 47
Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 7 of 47
Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 8 of 47
Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 9 of 47
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                 STATE COURT OF HENRY COUNTY                                            CLERK OF STATE COURT
                                                                                       HENRY COUNTY, GEORGIA
                       STATE OF GEORGIA
                                                                                    STSV2022000536
                                                                                              DBB
                                                                                      MAR 25, 2022 01:08 PM




                   CIVIL ACTION NUMBER STSV2022000536
Heard, Charles B

PLAINTIFF
                                           VS.
Moroyoquibalmaceda, Alfonso
Cargo Solutions Express, Inc.

DEFENDANTS


                             SUMMONS
TO: CARGO SOLUTIONS EXPRESS, INC.

You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiff's attorney, whose name and address is:

                          Jason Slate
                          Ali Awad Law, P.C.
                          200 Peachtree Street NW
                          Suite 201
                          Atlanta, Georgia 30303

an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint.

This 25th day of March, 2022.
                                                 Clerk of State Court




                                                                                     Page 1 of 1
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                 STATE COURT OF HENRY COUNTY                                            CLERK OF STATE COURT
                                                                                       HENRY COUNTY, GEORGIA
                       STATE OF GEORGIA
                                                                                    STSV2022000536
                                                                                              DBB
                                                                                      MAR 25, 2022 01:08 PM




                   CIVIL ACTION NUMBER STSV2022000536
Heard, Charles B

PLAINTIFF
                                           VS.
Moroyoquibalmaceda, Alfonso
Cargo Solutions Express, Inc.

DEFENDANTS


                          SUMMONS
TO: MOROYOQUIBALMACEDA, ALFONSO

You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiff's attorney, whose name and address is:

                          Jason Slate
                          Ali Awad Law, P.C.
                          200 Peachtree Street NW
                          Suite 201
                          Atlanta, Georgia 30303

an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint.

This 25th day of March, 2022.
                                                 Clerk of State Court




                                                                                     Page 1 of 1
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                 STATE COURT OF HENRY COUNTY                                            CLERK OF STATE COURT
                                                                                       HENRY COUNTY, GEORGIA
                       STATE OF GEORGIA
                                                                                    STSV2022000536
                                                                                              DBB
                                                                                      MAR 25, 2022 01:08 PM




                   CIVIL ACTION NUMBER STSV2022000536
Heard, Charles B

PLAINTIFF
                                           VS.
Moroyoquibalmaceda, Alfonso
Cargo Solutions Express, Inc.

DEFENDANTS


                             SUMMONS
TO: UNITED SPECIALTY INSURANCE COMPANY

You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiff's attorney, whose name and address is:

                          Jason Slate
                          Ali Awad Law, P.C.
                          200 Peachtree Street NW
                          Suite 201
                          Atlanta, Georgia 30303

an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint.

This 25th day of March, 2022.
                                                 Clerk of State Court




                                                                                     Page 1 of 1
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                                                            CLERK OF STATE COURT
                                                           HENRY COUNTY, GEORGIA
                                                         STSV2022000536
                                                                   DBB
                                                           MAR 30, 2022 06:36 AM
     Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 17 of 47

                                                                            CLERK OF STATE COURT
                                                                           HENRY COUNTY, GEORGIA
                                                                         STSV2022000536
                  IN THE STATE COURT OF HENRY COUNTY                                DBB
                                                                           APR 19, 2022 03:29 PM
                                STATE OF GEORGIA


CHARLES BERNARD HEARD,
                  Plaintiff,
                                               CIVIL ACTION
v.

                                               FILE NO.: STSV2022000536
ALFONSO MOROYOQUIBALMACEDA,
CARGO SOLUTONS EXPRESS, INC., and
UNITED SPECIALITY INSURANCE
COMPANY,
             Defendants.                          JURY TRIAL DEMANDED



                    NOTICE OF FILING PROOF OF SERVICE

       COMES NOW Plaintiff Charles Bernard Heard and files the attached Proof of

Service on Defendant Alfonso Moroyoquibalmaceda, in the above-referenced matter.


       This, the 19th day of April 2022.

                                           Respectfully submitted,

                                           ALI AWAD LAW, PC



                                           /s/ Jason N. Slate
                                           JASON N. SLATE
                                           Georgia Bar No. 846650
                                           Attorney for Plaintiff

200 Peachtree Street NW
Suite 201
Atlanta, GA 30303
P: (833) 254-2923
F: (706) 528-5090
Jason@aliawadlaw.com



                                           1
Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 18 of 47
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                                                                           CLERK OF STATE COURT
                                                                          HENRY COUNTY, GEORGIA
                                                                        STSV2022000536
                                                                                   DBB
                                                                          APR 22, 2022 01:34 PM

                    IN THE STATE COURT OF HENRY COUNTY
                              STATE OF GEORGIA

CHARLES BERNARD HEARD,                      )
                                            )
       Plaintiff,                           )       CIVIL ACTION FILE
                                            )       NO. STSV2022000536
v.                                          )
                                            )
ALFONSO                                     )
MOROYOQUIBALMACEDA;                         )
CARGO SOLUTIONS EXPRESS,                    )
INC.; and UNITED SPECIALTY                  )
INSURANCE COMPANY,                          )
                                            )
       Defendants.                          )

          ANSWER AND DEFENSES OF DEFENDANTS
          ALFONSO MOROYOQUI-BALMACEDA AND
  CARGO SOLUTION EXPRESS, INC. TO PLAINTIFF'S COMPLAINT

      COME NOW defendants Alfonso Moroyoqui-Balmaceda ("Moroyoqui-

Balmaceda"), incorrectly identified as Alfonso Moroyoquibalmaceda, and Cargo

Solution Express, Inc. ("Cargo Solution"), incorrectly identified as Cargo Solutions

Express, Inc., (collectively, "these defendants"), and answer plaintiff's complaint as

follows:

                                 FIRST DEFENSE

      Plaintiff's complaint fails to state a claim upon which relief can be granted.
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                                SECOND DEFENSE

      Responding to the specifically numbered paragraphs of plaintiff's complaint,

these defendants answer as follows:

                         PARTIES AND JURISDICTION

                                           1.

      These defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph of the complaint.

                                           2.

      Responding to the allegations in this paragraph of the complaint, these

defendants admit Mr. Moroyoqui-Balmaceda is a citizen of California and may be

served according to law. Except as expressly admitted, these defendants deny the

allegations in this paragraph of the complaint.

                                           3.

      Responding to the allegations in this paragraph of the complaint, these

defendants admit that Cargo Solution is a California corporation and may be served

according to law.      Except as expressly admitted, these defendants deny the

allegations in this paragraph of the complaint




                                          -2-
       Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 21 of 47




                                           4.

      These defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph of the complaint.

                                  BACKGROUND

                                           5.

      These defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph of the complaint.

                                           6.

      Responding to the allegations in this paragraph of the complaint, these

defendants admit Mr. Moroyoqui-Balmaceda was operating a tractor-trailer in

Carroll County, Georgia on or about June 30, 2020, in the course and scope of his

employment with Cargo Solution. Except as expressly admitted, these defendants

deny the allegations in this paragraph of the complaint.

                                           7.

      These defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph of the complaint.

                                           8.

      These defendants deny the allegations in this paragraph of the complaint.




                                          -3-
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                                              9.

      These defendants deny the allegations in this paragraph of the complaint.

                                          10.

      These defendants deny the allegations in this paragraph of the complaint.

                                      COUNT I

                   NEGLIGENCE OF DEFENDANT DRIVER

                                          11.

      These defendants incorporate their responses to the foregoing paragraphs of

the complaint as if set forth fully herein.

                                          12.

      These defendants deny the allegations in this paragraph of the complaint,

including those in subparagraphs (a) through (d).

                                          13.

      These defendants deny the allegations in this paragraph of the complaint.

                                          14.

      These defendants deny the allegations in this paragraph of the complaint.

                                          15.

      These defendants deny the allegations in this paragraph of the complaint.




                                              -4-
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                                      COUNT II

                              IMPUTED LIABILITY

                                          16.

      These defendants incorporate their responses to the foregoing paragraphs of

the complaint as if set forth fully herein.

                                          17.

      Responding to the allegations in this paragraph of the complaint, these

defendants admit Mr. Moroyoqui-Balmaceda was under dispatch for Cargo Solution

at the time of the subject accident. Except as expressly admitted, these defendants

deny the allegations in this paragraph of the complaint.

                                          18.

      Responding to the allegations in this paragraph of the complaint, these

defendants admit Mr. Moroyoqui-Balmaceda was operating a tractor-trailer in the

course and scope of his employment with Cargo Solution. Except as expressly

admitted, these defendants deny the allegations in this paragraph of the complaint.

                                          19.

      Responding to the allegations in this paragraph of the complaint, these

defendants admit the respondeat superior doctrine applies to plaintiff's claims of




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negligence against Mr. Moroyoqui-Balmaceda. Except as expressly admitted, these

defendants deny the allegations in this paragraph of the complaint.

                                     COUNT III

                   NEGLIGENT ENTRUSTMENT, HIRING,

                  RETENTION, TRAINING & SUPERVISION

                                          20.

      These defendants incorporate their responses to the foregoing paragraphs of

the complaint as if set forth fully herein.

                                          21.

      These defendants deny the allegations in this paragraph of the complaint.

                                          22.

      These defendants deny the allegations in this paragraph of the complaint.

                                          23.

      These defendants deny the allegations in this paragraph of the complaint.

                                          24.

      These defendants deny the allegations in this paragraph of the complaint.

                                          25.

      These defendants deny the allegations in this paragraph of the complaint.




                                              -6-
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                                     COUNT IV

                                          26.

      These defendants incorporate their responses to the foregoing paragraphs of

the complaint as if set forth fully herein.

                                          27.

      These defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph of the complaint.

                                          28.

      Responding to the allegations in this paragraph of the complaint, these

defendants admit United Specialty Insurance Company ("USIC") issued a policy of

liability insurance to Cargo Solution that was in effect at the time of the subject

accident. Except as expressly admitted, these defendants are without knowledge or

information sufficient to form a belief as to the truth of the allegations in this

paragraph of the complaint.

                                          29.

      These defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations in this paragraph of the complaint.




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                                          30.

      Responding to the allegations in this paragraph of the complaint, these

defendants admit USIC will be responsible for paying any judgment against them

up to the policy limit and subject to the terms of the policy terms and conditions and

applicable law.     Except as expressly admitted, these defendants are without

knowledge or information sufficient to form a belief as to the truth of the allegations

in this paragraph of the complaint.

                                      DAMAGES

                                          31.

      These defendants incorporate their responses to the foregoing paragraphs of

the complaint as if set forth fully herein.

                                          32.

      These defendants deny the allegations in this paragraph of the complaint.

                                          33.

      These defendants deny the allegations in this paragraph of the complaint.

                                          34.

      These defendants deny the allegations in this paragraph of the complaint.

                                          35.

      These defendants deny the allegations in this paragraph of the complaint.


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        Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 27 of 47




                                      COUNT V

          PUNITIVE DAMAGES AS TO DEFENDANT DRIVER &

                                 DEFENDANT CSE

                                          36.

      These defendants incorporate their responses to the foregoing paragraphs of

the complaint as if set forth fully herein.

                                          37.

      These defendants deny the allegations in this paragraph of the complaint.

               BAD FAITH AND STUBBORN LITIGIOUSNESS

                       PURSUANT TO O.C.G.A. § 13-6-11

                                          38.

      These defendants incorporate their responses to the foregoing paragraphs of

the complaint as if set forth fully herein.

                                          39.

      These defendants deny the allegations in this paragraph of the complaint.

                                          40.

      Responding to the allegations in the unnumbered paragraph which begins

"WHEREFORE" and constitutes plaintiff's prayer for relief, these defendants deny

plaintiff is entitled to any relief from them under any theory, at law or in equity.


                                              -9-
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                                         41.

      Except as expressly admitted or otherwise responded to, these defendants

deny all allegations in the complaint.

                                 THIRD DEFENSE

      Defendants did not breach any duty owed to plaintiff.

                               FOURTH DEFENSE

      No act or omission of defendants either proximately caused or contributed to

any injuries or damages allegedly incurred by plaintiff; therefore, plaintiff has no

right of recovery against defendants.

                                 FIFTH DEFENSE

      Any injuries or damages sustained by plaintiff were the sole, direct, and

proximate result of the conduct of others, including but not limited to plaintiff; and

no alleged act by defendants caused or contributed to the incident described in the

complaint.

                                 SIXTH DEFENSE

      The imposition of punitive damages against defendants would violate their

rights under the Due Process Clauses of the Fourteenth Amendment to the United

States Constitution and the Georgia Constitution.




                                         -10-
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                                SEVENTH DEFENSE

      The statutes of the State of Georgia that authorize the imposition of punitive

damages are contrary, by their express terms and as applied to defendants in this

lawsuit, to the United States and Georgia Constitutions, and the imposition of

punitive damages against defendants in this lawsuit is therefore barred inasmuch as

the statutes allow for deprivations of property without due process of law, violate

the equal protection of the laws by providing fewer protections for civil litigants than

the criminal statutes that provide for the imposition of monetary fines, and impose

an excessive fine.

                                 EIGHTH DEFENSE

      To the extent as may be shown applicable by the evidence through discovery,

these defendants assert the affirmative defenses of assumption of the risk,

contributory/comparative negligence, failure of plaintiff to avoid consequences,

failure of plaintiff to mitigate damages, accord and satisfaction, arbitration and

award, discharge in bankruptcy, duress, estoppel, failure of consideration, fraud,

illegality, injury by fellow servant, laches, last clear chance, license, payment,

release, res judicata, statute of limitations and waiver.




                                          -11-
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                                 NINTH DEFENSE

      These defendants reserve the right to plead additional defenses as become

known to them through investigation and discovery.

      WHEREFORE, having fully listed their defenses and having fully answered

the complaint, these defendants pray as follows:

      (a)     That judgment be entered in favor of defendants and against plaintiff

on the complaint;

      (b)     That the costs of this action, including attorney's fees be cast against

plaintiff; and

      (c)     That the Court grant such other and further relief as it may deem just

and proper.

                                                STONE KALFUS LLP

                                                /s/ Catherine M. Banich
                                                Matthew P. Stone
                                                Georgia Bar No. 684513
                                                Shawn N. Kalfus
                                                Georgia Bar No. 406227
                                                Catherine M. Banich
                                                Georgia Bar No. 260514
One Midtown Plaza                               Attorneys for Defendants
1360 Peachtree Street NE, Suite 1250
Atlanta, GA 30309
(404) 736-2600 (telephone)
(877) 736-2601 (facsimile)

        DEFENDANTS DEMAND A TRIAL BY JURY OF TWELVE

                                         -12-
       Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 31 of 47




                         CERTIFICATE OF SERVICE

This is to certify that I have this date served the foregoing Answer and Defenses of

Alfonso Moroyoqui-Balmaceda and Cargo Solution Express, Inc to Plaintiff's

Complaint upon all judges, clerks, and opposing counsel to the Clerk of Court

electronically using the PeachCourt eFile system which will automatically send e-

mail notification of such filing to counsel of record and others who are PeachCourt

eFile participants. Counsel of record is as follows:

                          Jason N. Slate, Esq.
                          Ali Awad Law, PC
                          200 Peachtree Street NW
                          Suite 201
                          Atlanta, GA 30303


      This 22nd day of April 2022.


                                             /s/ Catherine M. Banich
                                             Catherine M. Banich
                                             Georgia Bar No. 260514

STONE KALFUS LLP
One Midtown Plaza
1360 Peachtree Street NE
Suite 1250
Atlanta, GA 30309
(404) 736-2600 (telephone)
(877) 736-2601 (facsimile)
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                                                                           CLERK OF STATE COURT
                                                                          HENRY COUNTY, GEORGIA
                                                                        STSV2022000536
                                                                                   DBB
                                                                          APR 22, 2022 01:34 PM

                    IN THE STATE COURT OF HENRY COUNTY
                              STATE OF GEORGIA

CHARLES BERNARD HEARD,                      )
                                            )
       Plaintiff,                           )       CIVIL ACTION FILE
                                            )       NO. STSV2022000536
v.                                          )
                                            )
ALFONSO                                     )
MOROYOQUIBALMACEDA;                         )
CARGO SOLUTIONS EXPRESS,                    )
INC.; and UNITED SPECIALTY                  )
INSURANCE COMPANY,                          )
                                            )
       Defendants.                          )

     ANSWER AND DEFENSES OF UNITED SPECIALTY INSURANCE
             COMPANY TO PLAINTIFF'S COMPLAINT

      COMES NOW defendant United Specialty Insurance Company ("USIC"),

and answers plaintiff's complaint as follows:

                                 FIRST DEFENSE

      Plaintiff's complaint fails to state a claim upon which relief can be granted.

                               SECOND DEFENSE

      Responding to the specifically numbered paragraphs of plaintiff's complaint,

USIC answers as follows:
       Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 33 of 47




                        PARTIES AND JURISDICTION

                                          1.

      USIC is without knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph of the complaint.

                                          2.

      USIC is without knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph of the complaint.

                                          3.

      USIC is without knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph of the complaint.

                                          4.

      Responding to the allegations in this paragraph of the complaint, USIC admits

it is a Texas company and may be served according to law. Except as expressly

admitted, USIC denies the allegations in this paragraph of the complaint.

                                 BACKGROUND

                                          5.

      USIC is without knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph of the complaint.



                                         -2-
        Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 34 of 47




                                          6.

       USIC is without knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph of the complaint.

                                          7.

       USIC is without knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph of the complaint.

                                          8.

       USIC is without knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph of the complaint.

                                          9.

       USIC is without knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph of the complaint.

                                         10.

       USIC denies the allegations in this paragraph of the complaint.

                                     COUNT I

                    NEGLIGENCE OF DEFENDANT DRIVER

                                         11.

       USIC incorporates its responses to the foregoing paragraphs of the complaint

as if set forth fully herein.

                                         -3-
        Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 35 of 47




                                          12.

       USIC denies the allegations in this paragraph of the complaint, including

those in subparagraphs (a) through (d).

                                          13.

       USIC denies the allegations in this paragraph of the complaint.

                                          14.

       USIC denies the allegations in this paragraph of the complaint.

                                          15.

       USIC denies the allegations in this paragraph of the complaint.

                                     COUNT II

                                IMPUTED LIABILITY

                                          16.

       USIC incorporates its responses to the foregoing paragraphs of the complaint

as if set forth fully herein.

                                          17.

       USIC is without knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph of the complaint.




                                          -4-
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                                         18.

       USIC is without knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph of the complaint.

                                         19.

       USIC is without knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph of the complaint.

                                    COUNT III

                    NEGLIGENT ENTRUSTMENT, HIRING,

                   RETENTION, TRAINING & SUPERVISION

                                         20.

       USIC incorporates its responses to the foregoing paragraphs of the complaint

as if set forth fully herein.

                                         21.

       USIC denies the allegations in this paragraph of the complaint.

                                         22.

       USIC denies the allegations in this paragraph of the complaint.

                                         23.

       USIC denies the allegations in this paragraph of the complaint.



                                         -5-
        Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 37 of 47




                                         24.

       USIC denies the allegations in this paragraph of the complaint.

                                         25.

       USIC denies the allegations in this paragraph of the complaint.

                                    COUNT IV

                                         26.

       USIC incorporates its responses to the foregoing paragraphs of the complaint

as if set forth fully herein.

                                         27.

       USIC admits it issued a policy of liability insurance to Cargo Solution that

was in effect at the time of the subject accident. Except as expressly admitted, USIC

is without knowledge or information sufficient to form a belief as to the truth of the

allegations in this paragraph of the complaint.

                                         28.

       USIC admits it issued a policy of liability insurance to Cargo Solution that

was in effect at the time of the subject accident. Except as expressly admitted, USIC

is without knowledge or information sufficient to form a belief as to the truth of the

allegations in this paragraph of the complaint.



                                         -6-
        Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 38 of 47




                                         29.

       USIC is without knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph of the complaint.

                                         30.

       Responding to the allegations in this paragraph of the complaint, USIC admits

it will be responsible for paying any judgment against its insureds up to the policy

limit and subject to the policy terms and conditions and applicable law. Except as

expressly admitted, USIC denies the allegations in this paragraph of the complaint.

                                    DAMAGES

                                         31.

       USIC incorporates its responses to the foregoing paragraphs of the complaint

as if set forth fully herein.

                                         32.

       USIC denies the allegations in this paragraph of the complaint.

                                         33.

       USIC denies the allegations in this paragraph of the complaint.

                                         34.

       USIC denies the allegations in this paragraph of the complaint.



                                         -7-
        Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 39 of 47




                                        35.

       USIC denies the allegations in this paragraph of the complaint.

                                    COUNT V

           PUNITIVE DAMAGES AS TO DEFENDANT DRIVER &

                                DEFENDANT CSE

                                        36.

       USIC incorporates its responses to the foregoing paragraphs of the complaint

as if set forth fully herein.

                                        37.

       USIC denies the allegations in this paragraph of the complaint.

                BAD FAITH AND STUBBORN LITIGIOUSNESS

                        PURSUANT TO O.C.G.A. § 13-6-11

                                        38.

       USIC incorporates its responses to the foregoing paragraphs of the complaint

as if set forth fully herein.

                                        39.

       USIC denies the allegations in this paragraph of the complaint.




                                        -8-
       Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 40 of 47




                                         40.

      Responding to the allegations in the unnumbered paragraph which begins

"WHEREFORE" and constitutes plaintiff's prayer for relief, USIC denies plaintiff is

entitled to any relief from defendants under any theory, at law or in equity.

                                         41.

      Except as expressly admitted or otherwise responded to, USIC denies all

allegations in the complaint.

                                 THIRD DEFENSE

      Defendants did not breach any duty owed to plaintiff.

                                FOURTH DEFENSE

      No act or omission of defendants either proximately caused or contributed to

any injuries or damages allegedly incurred by plaintiff; therefore, plaintiff has no

right of recovery against defendants.

                                 FIFTH DEFENSE

      Any injuries or damages sustained by plaintiff were the sole, direct, and

proximate result of the conduct of others, including but not limited to plaintiff; and

no alleged act by defendants caused or contributed to the incident described in the

complaint.



                                         -9-
        Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 41 of 47




                                   SIXTH DEFENSE

       The imposition of punitive damages against defendants would violate their

rights under the Due Process Clauses of the Fourteenth Amendment to the United

States Constitution and the Georgia Constitution.

                                 SEVENTH DEFENSE

       The statutes of the State of Georgia that authorize the imposition of punitive

damages are contrary, by their express terms and as applied to defendants in this

lawsuit, to the United States and Georgia Constitutions, and the imposition of

punitive damages against defendants in this lawsuit is therefore barred inasmuch as

the statutes allow for deprivations of property without due process of law, violate

the equal protection of the laws by providing fewer protections for civil litigants than

the criminal statutes that provide for the imposition of monetary fines, and impose

an excessive fine.

                                  EIGHTH DEFENSE

       To the extent as may be shown applicable by the evidence through discovery,

USIC     asserts     the   affirmative   defenses   of   assumption     of   the   risk,

contributory/comparative negligence, failure of plaintiff to avoid consequences,

failure of plaintiff to mitigate damages, accord and satisfaction, arbitration and

award, discharge in bankruptcy, duress, estoppel, failure of consideration, fraud,

                                          -10-
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illegality, injury by fellow servant, laches, last clear chance, license, payment,

release, res judicata, statute of limitations and waiver.

                                  NINTH DEFENSE

      USIC reserves the right to plead additional defenses as become known to it

through investigation and discovery.

      WHEREFORE, having fully listed its defenses and having fully answered the

complaint, USIC prays as follows:

      (a)     That judgment be entered in favor of defendants and against plaintiff

on the complaint;

      (b)     That the costs of this action, including attorney's fees be cast against

plaintiff; and

      (c)     That the Court grant such other and further relief as it may deem just

and proper.

                                                 STONE KALFUS LLP

                                                 /s/ Catherine M. Banich
                                                 Matthew P. Stone
                                                 Georgia Bar No. 684513
                                                 Shawn N. Kalfus
                                                 Georgia Bar No. 406227
                                                 Catherine M. Banich
                                                 Georgia Bar No. 260514
                                                 Attorneys for Defendants


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       DEFENDANTS DEMAND A TRIAL BY JURY OF TWELVE




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                              CERTIFICATE OF SERVICE

This is to certify that I have this date served the foregoing Answer and Defenses of

United Specialty Insurance Company to Plaintiff's Complaint upon all judges,

clerks, and opposing counsel to the Clerk of Court electronically using the

PeachCourt eFile system which will automatically send e-mail notification of such

filing    to   counsel   of    record   and   others    who   are   PeachCourt   eFile

participants. Counsel of record is as follows:

                              Jason N. Slate, Esq.
                              Ali Awad Law, PC
                              200 Peachtree Street NW
                              Suite 201
                              Atlanta, GA 30303


         This 22nd day of April 2022.


                                                /s/ Catherine M. Banich
                                                Catherine M. Banich
                                                Georgia Bar No. 260514

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                                                                          CLERK OF STATE COURT
                                                                         HENRY COUNTY, GEORGIA
                                                                        STSV2022000536
                                                                                  DBB
                                                                         APR 22, 2022 01:34 PM

                    IN THE STATE COURT OF HENRY COUNTY
                              STATE OF GEORGIA

 CHARLES BERNARD HEARD,                   )
                                          )
       Plaintiff,                         )     CIVIL ACTION FILE
                                          )     NO. STSV2022000536
 v.                                       )
                                          )
 ALFONSO                                  )
 MOROYOQUIBALMACEDA;                      )
 CARGO SOLUTIONS EXPRESS,                 )
 INC.; and UNITED SPECIALTY               )
 INSURANCE COMPANY,                       )
                                          )
       Defendants.                        )

                       DEMAND FOR JURY OF TWELVE

      COME NOW defendants, pursuant to O.C.G.A. §§ 15-12-122 and 15-12-123,

and demand that this action be tried by a jury of twelve. In support of this demand,

defendants show that they reasonably believe plaintiff's claim for damages is greater

than $25,000 and that this demand is made before the commencement of the trial

term in which this case is to be tried.

                                              STONE KALFUS LLP

                                              /s/ Catherine M. Banich
                                              Matthew P. Stone
                                              Georgia Bar No. 684513
                                              Shawn N. Kalfus
                                              Georgia Bar No. 406227
       Case 1:22-cv-01599-AT Document 1-1 Filed 04/22/22 Page 46 of 47




                                           Catherine M. Banich
                                           Georgia Bar No. 260514
                                           Attorneys for Defendants

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                         CERTIFICATE OF SERVICE

      This is to certify that I have this date served the foregoing Demand for Jury

of Twelve upon all judges, clerks, and opposing counsel to the Clerk of Court

electronically using the PeachCourt eFile filing system which will automatically

send e-mail notification of such filing to counsel of record and others who are

PeachCourt eFile participants. Counsel of record is as follows:

                         Jason N. Slate, Esq.
                         Ali Awad Law, PC
                         200 Peachtree Street NW
                         Suite 201
                         Atlanta, GA 30303


      This 22nd day of April 2022.


                                            /s/ Catherine M. Banich
                                            Catherine M. Banich
                                            Georgia Bar No. 260514

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